                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

CHARTER COMMUNICATIONS,                   )
INC., and CHARTER COMMUNICATIONS )
OPERATING, LLC,                           )
                                          )
       Plaintiffs/Counterclaim Defendant, )
                                          )
v.                                        )          Case No.: 4:24-cv-00199-CDP
                                          )
UBEE INTERACTIVE, INC.,                   )
                                          )
       Defendant/Counterclaim Plaintiff.  )

                       UBEE INTERACTIVE INC.’S ANSWER,
                  AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS

       Defendant/Counterclaim Plaintiff Ubee Interactive Inc. (erroneously sued as Ubee

Interactive, Inc.) (“Ubee”) respectfully submits its Answer and Affirmative Defenses to Plaintiffs’

Complaint, as well as its Counterclaims.

                                           ANSWER

                                    NATURE OF THE ACTION

       1.      This action arises out of Defendant’s unjustified refusal to honor its contractual

obligation to indemnify, hold harmless, and defend the Charter Plaintiffs for liability and defense

costs resulting from patent infringement claims brought against CCI by Entropic Communications,

LLC (“Entropic”) involving the use of cable modems supplied by Ubee to CCO that the Charter

Plaintiffs deployed to offer internet services to their customers. Entropic sought damages from

CCI well in excess of $1 billion.

       ANSWER: Ubee denies the allegations of the first sentence of Paragraph 1. Ubee is not

required to answer legal conclusions and argument. Ubee lacks knowledge or information




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sufficient to form a belief as to the truth of the allegations in the second sentence of Paragraph 1,

and on that basis denies those allegations.

       2.      Pursuant to a Master Purchase Agreement between CCO and Ubee, effective as of

October 1, 2016 (the “Ubee MPA”), Ubee sold cable modems (containing Ubee software and

hardware components) to CCO that the Charter Plaintiffs used to provide internet services to their

customers.

       ANSWER: Ubee admits that it entered into a Master Purchase Agreement (“MPA”) with

Charter Communications Operating LLC (“CCO”) effective October 1, 2016 for the sale of

“Goods,” as that term is used in the MPA, from Ubee to CCO. Except as specifically admitted, to

the extent any response is required, Ubee denies the allegations of Paragraph 2.

       3.      Under the Ubee MPA, Ubee agreed to indemnify, hold harmless, and defend the

Charter Indemnitees (as defined in the Ubee MPA) from and against any and all claims, damages,

losses, liabilities and expenses, including attorneys’ fees resulting from third party claims for

patent infringement brought against the Charter Indemnitees that involved the Charter Plaintiffs’

use or installation of goods supplied by Ubee.

       ANSWER: To the extent the allegations in this paragraph purport to describe the terms of

the MPA, the MPA speaks for itself, and Ubee denies any characterization of the MPA inconsistent

with its terms. Except as specifically admitted, to the extent any response is required, Ubee denies

the allegations of Paragraph 3.

       4.      On April 27, 2022, Entropic commenced an action against CCI, Spectrum

Advanced Services, LLC and Spectrum Management Holding Company, LLC in the U.S. District

Court for the Eastern District of Texas, Case No. 2:22-cv-00125 (the “Entropic -125 Litigation”)

seeking damages for alleged infringement of six patents related to certain functions performed by




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certain accused cable modems and set-top boxes provided to CCO by suppliers, including cable

modems supplied to CCO by Ubee. On May 24, 2022, Entropic filed a first amended complaint

in the Entropic -125 Litigation. On January 10, 2023, Entropic further amended its complaint in

the Entropic -125 Litigation to drop Spectrum Advanced Services, LLC and Spectrum

Management Holding Company, LLC as defendants, leaving CCI as the sole defendant.

       ANSWER: Ubee lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 4, and on that basis denies those allegations.

       5.        On June 1, 2022, the Charter Plaintiffs timely provided notice to Ubee of a third-

party claim for patent infringement related to products sold to CCO by Ubee pursuant to CCO’s

agreements with Ubee, including the Ubee MPA. The Charter Plaintiffs attached a copy of the

Amended Complaint in the Entropic -125 Litigation, and tendered the case to Ubee for defense

and indemnification. Ubee did not assume defense of the case and did not retain counsel to

represent CCI.

       ANSWER: Ubee admits that it received a letter dated June 1, 2022 from Daniel Boglioli

with the subject “Entropic Communications, LLC v. Charter Communications, Inc., et al., Case

No. 2:22-cv-125 (E.D. Tx)” and that the letter enclosed a document described as the amended

complaint in the Entropic -125 Litigation. To the extent the allegations in this paragraph purport

to summarize or characterize the June 1, 2022 letter, that letter speaks for itself, and Ubee denies

any characterization of the letter inconsistent with its content. Ubee admits that it did not assume

defense of or retain counsel to represent CCI in the Entropic -125 Litigation. Except as specifically

admitted, to the extent any response is required, Ubee denies the allegations of Paragraph 5.

       6.        Where Ubee fails to assume the defense of indemnifiable litigation, the Charter

Plaintiffs are permitted to undertake the defense of the litigation and Ubee is obligated to reimburse




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the Charter Plaintiffs for the costs and expenses of that defense incurred by the Charter Plaintiffs,

as well as liabilities and losses relating to the third party claim.

        ANSWER: To the extent the allegations in this paragraph purport to describe the terms of

the MPA, the MPA speaks for itself, and Ubee denies any characterization of the MPA inconsistent

with its terms. Except as specifically admitted, to the extent any response is required, Ubee denies

the allegations of Paragraph 6.

        7.      When Ubee and the Charter Plaintiffs’ other suppliers failed to assume CCI’s

defense, Ubee and certain other equipment suppliers and the Charter Plaintiffs reached agreement:

(a) to retain APKS to represent CCI; (b) as to each equipment supplier’s provisional share of

defense costs in the Entropic -125 Litigation subject to adjustment if additional equipment by the

same or other suppliers was subsequently accused; (c) that those costs would be billed directly to

each supplier by APKS; and (d) that the Charter Plaintiffs would pre-pay the non-APKS expenses,

including fees from The Dacus Firm as Texas Counsel, and seek reimbursement from each supplier

quarterly for each supplier’s respective share of the expenses. Ubee agreed to pay 16.7% of CCI’s

defense costs (those billed directly by APKS and those billed quarterly by the Charter Plaintiffs)

because Ubee’s cable modems initially represented 16.7% of the total specifically accused

equipment.

        ANSWER: Ubee admits that it did not object to CCI retaining Arnold & Porter Kaye

Scholer LLP (“APKS”) in the Entropic -125 Litigation. Ubee admits that it did not object to CCI

pre-paying certain litigation costs and sending quarterly invoices for such costs to Ubee. Except

as specifically admitted, to the extent any response is required, Ubee denies the allegations of

Paragraph 7.




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       8.      In January 2023, prior to Ubee’s agreement to have the Charter Plaintiffs pre-pay

the non-APKS expenses and seek reimbursement for the vendors quarterly, APKS began sending

invoices to Ubee for costs from other third-party vendors. APKS subsequently ceased that practice

after the agreement was reached. Beginning in February 2023, APKS provided Ubee with monthly

invoices for legal fees that CCI incurred in connection with the Entropic -125 Litigation. Beginning

in April 2023, the Charter Plaintiffs provided Ubee with a quarterly invoice for the remaining

expenses that CCI incurred in connection with the Entropic -125 Litigation.

       ANSWER: Ubee admits that, prior to February 2023, Ubee received requests for payment

from APKS for certain third-party litigation costs purportedly relating to the Entropic -125

Litigation. Ubee admits that, after February 2023, it received invoices from CCI for additional

costs purportedly relating to the Entropic -125 Litigation. Except as specifically admitted, to the

extent any response is required, Ubee denies the allegations of Paragraph 8.

       9.      Despite its agreement to pay its share of defense costs, Ubee made no payments of

any invoices from APKS or the Charter Plaintiffs. Nor did Ubee respond to repeated requests

regarding the status of its payments for those invoices. In May 2023, Ubee confirmed that it was

responsible for making such payments, but indicated that it did not then have the budget for making

such payments. In June 2023, Ubee sought to renegotiate its agreement to pay its share of defense

costs, which the Charter Plaintiffs refused to do. Ubee ultimately rejected defense and

indemnification.

       ANSWER: Ubee admits that it did not make payment towards any invoice from APKS.

Except as specifically admitted, to the extent any response is required, Ubee denies the allegations

of Paragraph 9.




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       10.     On February 10, 2023, Entropic filed another action against CCI in the U.S. District

Court for the Eastern District of Texas, Case No. 2:23-cv-052 (the “Entropic -052 Litigation”).

       ANSWER: Ubee admits that the court docket reflects that, on February 10, 2023, Entropic

filed an action captioned Entropic Communications, LLC v. Charter Communications, Inc., Case

No. 2:23-cv-00052 in the U.S. District Court for the Eastern District of Texas. Except as

specifically admitted, Ubee lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 10, and on that basis denies those allegations.

       11.     On April 19, 2023, Entropic filed an amended complaint in the Entropic -052

Litigation. In the Entropic -052 Litigation, Entropic asserted that CCI’s deployment of certain set-

top boxes infringed two Entropic patents: U.S. Patent Nos. 11,381,866 and 11,399,206, and that

these patents were continuations of U.S. Patent No. 9,210,362, which was at issue in the Entropic

-125 Litigation. Entropic further stated in its infringement contentions in the Entropic -052

Litigation that its claims cover both set-top boxes and cable modems.

       ANSWER: Ubee admits that the court docket reflects that Entropic filed a First Amended

Complaint for Patent Infringement in the Entropic -052 Litigation on April 19, 2023. Except as

specifically admitted, Ubee lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 11, and on that basis denies those allegations.

       12.     On September 29, 2023, the Charter Plaintiffs provided written notice to Ubee of

the Entropic -052 Litigation, provided Ubee with a copy of the Amended Complaint and Entropic’s

infringement contentions, and tendered the case for defense and indemnification. Ubee has failed

to respond to the Charter Plaintiffs’ September 29, 2023 letter or retain counsel to defend the

Charter Plaintiffs, and has denied its defense and indemnification obligations for that case as well.




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       ANSWER: Ubee admits that it received a letter dated September 29, 2023 from Daniel

Boglioli with the subject “Entropic Communications, LLC v. Charter Communications, Inc., Case

No. 2:23-cv-052 (E.D. Tx ) (the ‘-052 Case’)” and that the letter enclosed documents referred to

as First Amended Complaint, Entropic PR 3-1 and 3-2 Disclosures, Exhibit A – Entropic Claim

Chart 11, 399.206, and Exhibit B – Entropic Claim Chart 11,381,866. To the extent the allegations

in this paragraph purport to summarize or characterize the September 29, 2023 letter or any of its

enclosures, those documents speak for themselves, and Ubee denies any characterization of those

documents inconsistent with their contents. Except as specifically admitted, to the extent any

response is required, Ubee denies the allegations of Paragraph 12.

       13.     Ubee also repeatedly refused to participate in or contribute to any effort to settle

the cases with Entropic. Ubee twice rejected the Charter Plaintiffs’ requests to contribute to the

settlement. On December 10, 2023, CCI and Entropic settled the Entropic -125 Litigation, the

Entropic -052 Litigation and two other litigations in the Eastern District of Texas, Case Nos. 2:23-

cv-00050-JRG and 2:23-cv-00051-JRG (collectively, the “Entropic MoCA Litigations”).

       ANSWER: With respect to the first sentence of Paragraph 13, Ubee admits that it did not

participate in or contribute to “any effort to settle” the cases with Entropic. To the extent the

Charter Plaintiffs imply that Ubee had any obligation, or the opportunity, to participate in or

contribute to “any effort to settle” the cases with Entropic, Ubee denies that it had any such

obligation or opportunity, and, except as specifically admitted, Ubee denies the allegations in the

first sentence of Paragraph 13. With respect to the second sentence of Paragraph 13, Ubee admits

that it did not contribute to the settlement of the Entropic lawsuits against Charter Plaintiffs. To

the extent these allegations imply that Ubee had any obligation to contribute to that settlement,

Ubee denies that it has any such obligation and, except as specifically admitted, Ubee denies the




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allegations in the second sentence of Paragraph 13. Ubee lacks knowledge or information

sufficient to form a belief as to the truth of the allegations in the third sentence in Paragraph 13,

and on that basis denies those allegations.

       14.      On December 29, 2023, the Charter Plaintiffs provided a written demand for Ubee

to pay its share of the defense costs and settlement amount in the Entropic -125 Litigation and the

Entropic -052 Litigation. The Charter Plaintiffs informed Ubee of the methodology used to

determine Ubee’s share of the defense costs and the settlement amount. The Charter Plaintiffs

demanded $10.33 million for Ubee’s share of the settlement amount for the Entropic -125

Litigation, $1.98 million for Ubee’s share of the settlement amount for the Entropic -052

Litigation, and Ubee’s share of the defense costs to date at that time—$1,705,469 for Ubee’s share

of the defense costs in the Entropic -125 Litigation and $53,879.75 for Ubee’s share of the defense

costs in the Entropic -052 Litigation.

       ANSWER: Ubee admits that it received a letter dated December 29, 2023 from Daniel

Boglioli with the subject “Demand for Payment of Share of Defense Costs and Settlement Amount

– Entropic Communications, LLC v. Charter Communications, Inc., et al., Case No. 2:22-CV-125

(E.D. Tx) (the ‘-125 Case’) and Entropic Communications, LLC v. Charter Communications, Inc.

et al., Case No. 2:23-cv-052 (E.D. Tx) (the ‘-052 Case).” To the extent the allegations in this

paragraph purport to summarize or characterize the December 29, 2023 letter, that letter speaks

for itself, and Ubee denies any characterization of the letter inconsistent with its content. Except

as specifically admitted, to the extent any response is required, Ubee denies the allegations of

Paragraph 14.

       15.      For the Entropic -125 Litigation, Ubee’s share of the settlement amount is $10.33

million and Ubee’s share of defense costs to date is now $2,189,330.16. For the Entropic -052




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Litigation, Ubee’s share of the settlement amount is $1.98 million and Ubee’s share of the defense

costs to date is now $92,842.42.

       ANSWER: Ubee denies the allegations of Paragraph 15.

       16.      Ubee is in material breach of its obligations under the Ubee MPA to indemnify the

Charter Plaintiffs for Ubee’s share of the defense costs incurred in and settlement of the Entropic

-125 Litigation and the Entropic -052 Litigation.

       ANSWER: Ubee denies the allegations of Paragraph 16. Ubee is not required to answer

legal conclusions and argument.

                                         THE PARTIES

       17.      Plaintiff Charter Communications, Inc. is a corporation organized and existing

under the laws of Delaware, with its principal place of business in Connecticut. CCI is a Charter

Affiliate and a Charter Indemnitee as those terms are defined under the Ubee MPA.

       ANSWER: Ubee lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 17 and on that basis denies those allegations.

       18.      Plaintiff Charter Communications Operating, LLC is a Delaware limited liability

company with its principal place of business in Missouri. CCO is a party to the Ubee MPA. The

sole member of Charter Communications Operating, LLC is CCO Holdings, LLC.

             a. CCO Holdings, LLC is a Delaware limited liability company with its principal

                place of business in Missouri. The sole member of CCO Holdings, LLC is CCH I

                Holdings, LLC.

             b. CCH I Holdings, LLC is a Delaware limited liability company with its principal

                place of business in Missouri. The sole member of CCH I Holdings, LLC is CCHC,

                LLC.




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c. CCHC, LLC is a Delaware limited liability company with its principal place of

   business in Missouri. The sole member of CCHC, LLC is Charter Communications

   Holding Company, LLC.

d. Charter Communications Holding Company, LLC is a Delaware limited liability

   company with its principal place of business in Missouri. The sole member of

   Charter Communications Holding Company, LLC is Spectrum Management

   Holding Company, LLC.

e. Spectrum Management Holding Company, LLC is a Delaware limited liability

   company with its principal place of business in Missouri. The sole member of

   Spectrum Management Holding Company, LLC is Charter Communications

   Holdings, LLC.

f. Charter Communications Holdings, LLC is a Delaware limited liability company

   with its principal place of business in Missouri. The members of Charter

   Communications Holdings, LLC are: CCH Holding Company, LLC; Insight

   Blocker LLC; CCH II, LLC; and Advance/Newhouse Partnership.

g. CCH Holding Company, LLC is a Delaware limited liability company with its

   principal place of business in Missouri. The sole member of CCH Holding

   Company LLC is CCI.

h. Insight Blocker LLC is a Delaware limited liability company with its principal

   place of business in Missouri. The sole member of Insight Blocker LLC is CCI.

i. CCH II, LLC is a Delaware limited liability company with its principal place of

   business in Missouri. The sole member of CCH II, LLC is CCI.




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             j. On information and belief, Advance/Newhouse Partnership is a New York general

                partnership with two partners. The two partners are A/NP Holdings Sub LLC and

                A/NPC Holdings LLC, both of which are Delaware limited liability companies.

             k. On information and belief, the sole member of A/NP Holdings Sub LLC is A/NPC

                Holdings LLC. The members of A/NPC Holdings LLC are Newhouse Cable

                Holdings LLC and Advance Communications Company LLC, both of which are

                New York limited liability companies. The sole member of Newhouse Cable

                Holdings LLC is Newhouse Broadcasting Corporation, a New York corporation

                with its principal place of business in New York. The sole member of Advance

                Communications Company LLC is Advance Local Holdings Corp., a Delaware

                corporation with its principal place of business in New York.

       ANSWER: Ubee lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 18, and each of its subparts, and on that basis denies those

allegations.

       19.      Defendant Ubee Interactive, Inc. is a California corporation with its principal place

of business in Colorado. Ubee is a telecommunications equipment supplier that supplies

equipment, software, and other services to telecommunications carriers and network service

providers to facilitate, among other services, internet services.

       ANSWER: Ubee admits that it is a corporation organized and existing under the laws of

the state of California, and that its principal place of business is in Colorado. Ubee makes modems

and gateways for cable and telecommunications service providers. Except as specifically admitted,

to the extent any response is required, Ubee denies the allegations of Paragraph 19.




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                                 JURISDICTION AND VENUE

       20.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332 based on diversity of citizenship because the plaintiffs and defendant are citizens of

different states and the amount in controversy exceeds the sum or value of $75,000.

       ANSWER: Paragraph 20 states legal conclusions to which no response is required.

       21.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and provisions of the

Ubee MPA. The disputes between the Charter Plaintiffs and Ubee arise under the Ubee MPA.

       ANSWER: Paragraph 21 states legal conclusions or arguments to which no response is

required.

                                  FACTUAL BACKGROUND

A.     The Charter Plaintiffs’ Master Purchase Agreement with Ubee

       22.      Effective as of October 1, 2016, CCO and Ubee entered into the Ubee MPA

pursuant to which CCO purchased cable modems and other equipment from Ubee. CCI signed the

Ubee MPA as the manager of CCO.

       ANSWER: Ubee admits that it entered into the MPA with CCO effective as of October 1,

2016 for the sale of “Goods,” as that term is used in the MPA, from Ubee to CCO. Ubee admits

that Charter Communications, Inc. (“CCI”) signed the MPA as CCO’s manager. Except as

specifically admitted, to the extent any response is required, Ubee denies the allegations of

Paragraph 22.

       23.      Under the Ubee MPA, Ubee agreed to indemnify, hold harmless, and defend the

Charter Indemnitees (as defined in the Ubee MPA) from and against any and all claims, damages,

losses, liabilities and expenses, including attorneys’ fees resulting from third party claims for

patent infringement brought against the Charter Indemnitees that involved the Charter Plaintiffs’

use or installation of goods supplied by Ubee.


                                                 12
         ANSWER: To the extent the allegations in this paragraph purport to describe the terms of

the MPA, the MPA speaks for itself, and Ubee denies any characterization of the MPA inconsistent

with its terms. Except as specifically admitted, to the extent any response is required, Ubee denies

the allegations of Paragraph 23.

         24.    CCO, the Charter Affiliates, and CCO’s and the Charter Affiliates’ respective

present and former officers, directors, shareholders, managers, members, partners, employees and

agents are Charter Indemnitees under the Ubee MPA. CCI is a Charter Affiliate and Charter

Indemnitee under the Ubee MPA.

         ANSWER: Ubee admits that “Charter Indemnitees” is defined in the MPA as “Charter,

the Charter Affiliates, and the Charter Affiliates’ respective present and former officers, directors,

shareholders, managers, members, partners, employees, and agents.” Ubee lacks knowledge or

information sufficient to form a belief as to the truth of the allegations in the second sentence in

Paragraph 24, and on that basis denies those allegations. Except as specifically admitted, to the

extent any response is required, Ubee denies the allegations of Paragraph 24.

         25.    The Ubee MPA requires the Charter Plaintiffs to notify Ubee of a third party claim

for patent infringement after the Charter Plaintiffs have knowledge of the claim and, upon

notification, requires Ubee to assume defense of the claim. If Ubee fails to assume defense of the

claim, the Charter Plaintiffs may undertake defense of the claim and Ubee is responsible for paying

the Charter Plaintiffs’ defense costs and any liabilities and losses resulting from the third party

claim.

         ANSWER: To the extent the allegations in this paragraph purport to describe the terms of

the MPA, the MPA speaks for itself, and Ubee denies any characterization of the MPA inconsistent




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with its terms. Except as specifically admitted, to the extent any response is required, Ubee denies

the allegations of Paragraph 25.

B.     Entropic v. Charter -125 Litigation

       26.     On April 27, 2022, Entropic commenced the Entropic -125 Litigation against CCI.

In the Entropic -125 Litigation, Entropic alleges that CCI has and continues to lease, sell, and/or

distribute certain cable modems, including the “Arris AB6183 cable modem, Spectrum PC20 (e.g.,

the Spectrum EU2251) cable modem, and products that operate in a similar manner (the ‘Accused

Cable Modem Products’)” and that CCI’s use of the Accused Cable Modem Products infringes

three patents held by Entropic, U.S. Patent Nos. 8,223,775, 8,284,690, and 10,135,682. Ubee

supplied the cable modems to CCI identified as the Spectrum EU2251.

       ANSWER: Ubee admits that the court docket reflects that, on April 17, 2022, Entropic

filed an action captioned Entropic Communications, LLC v. Charter Communications, Inc., Case

No. 2:22-cv-00125 in the U.S. District Court for the Eastern District of Texas. To the extent the

allegations in this paragraph purport to describe the contents of the complaint in that action, the

complaint speaks for itself and Ubee denies any characterization of the complaint that is

inconsistent with its contents. Ubee admits that it sold cable modems to CCO and that, on

information and belief, CCO assigned some of those cable modems model numbers. Except as

specifically admitted, Ubee lacks knowledge or information sufficient to form a belief as to the

truth of the remainder of the allegations in Paragraph 26, and on that basis denies those allegations.

       27.     On May 24, 2022, Entropic filed a first amended complaint in the Entropic -125

Litigation. On January 10, 2023, Entropic further amended its complaint to drop Spectrum

Advanced Services, LLC and Spectrum Management Holding Company, LLC as defendants,

leaving CCI as the sole defendant.




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       ANSWER: Ubee admits that the court docket in the Entropic -125 Litigation reflects that

Entropic filed a First Amended Complaint on May 24, 2022 and a Second Amended Complaint

on January 10, 2023. Except as specifically admitted, Ubee lacks knowledge or information

sufficient to form a belief as to the truth of the remainder of the allegations in Paragraph 27, and

on that basis denies those allegations.

C.     The Charter Plaintiffs Notify Ubee of the Entropic -125 Litigation

       28.      On June 1, 2022, the Charter Plaintiffs provided notice to Ubee of a third-party

claim for patent infringement related to products sold to CCO by Ubee pursuant to CCO’s

agreements with Ubee, including the Ubee MPA. The Charter Plaintiffs attached a copy of the

Amended Complaint in the Entropic -125 Litigation and tendered the case to Ubee for defense and

indemnification.

       ANSWER: Ubee admits that it received a letter dated June 1, 2022 from Daniel Boglioli

with the subject “Entropic Communications, LLC v. Charter Communications, Inc., et al., Case

No. 2:22-cv-125 (E.D. Tx).” Ubee admits that this letter enclosed a copy of the Amended

Complaint in the Entropic -125 Litigation. To the extent the allegations in this paragraph purport

to describe the June 1, 2022 letter or its enclosure, those documents speak for themselves, and

Ubee denies any characterization of those documents inconsistent with their contents. Except as

specifically admitted, to the extent any response is required, Ubee denies the allegations of

Paragraph 28.

       29.      In the June 1, 2022 letter, the Charter Plaintiffs noted that because a number of

suppliers, including Ubee, were implicated by the patent infringement claims, it would be more

efficient and cost effective to have the suppliers retain a single law firm to defend the litigation.

Alternatively, the Charter Plaintiffs offered to retain a single law firm to represent CCI with respect

to all of the accused equipment and have the suppliers contribute to the defense costs at their


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proportionate share of the accused equipment. The Charter Plaintiffs further stated that Ubee could

assume the defense and indemnification of its products. Finally, the Charter Plaintiffs stated that

if they did not hear from Ubee, they would nonetheless seek indemnification from Ubee for any

defense costs and the cost of any settlement or judgment.

       ANSWER: To the extent the allegations in this paragraph purport to describe the June 1,

2022 letter, the letter speaks for itself, and Ubee denies any characterization of the letter

inconsistent with its content. Except as specifically admitted, to the extent any response is required,

Ubee denies the allegations of Paragraph 29.

       30.     Ubee did not assume the defense of the Entropic -125 Litigation and did not retain

counsel to represent CCI. Where, as here, Ubee failed to assume the defense, the Charter Plaintiffs

were permitted to undertake the defense and Ubee became responsible for defense costs and

expenses incurred by CCI in defending the claim as well as liabilities and losses resulting from

the claim.

       ANSWER: Ubee admits that it did not assume the defense of or retain counsel to represent

CCI in the Entropic -125 Litigation. Except as specifically admitted, to the extent any response is

required, Ubee denies the allegations of Paragraph 30.

D.     Ubee and the Other Equipment Suppliers Each Agree to Pay A Share of CCI’s Defense
       Costs in the Entropic -125 Litigation

       31.     When Ubee and the Charter Plaintiffs’ other suppliers failed to assume CCI’s

defense in the Entropic -125 Litigation, Ubee and certain other equipment suppliers and the Charter

Plaintiffs reached agreement: (a) to retain APKS to represent CCI; (b) as to each equipment

supplier’s provisional share of defense costs in the Entropic -125 Litigation subject to adjustment

if additional equipment by the same or other suppliers was subsequently accused; (c) that those

costs would be billed directly to each supplier by APKS; and (d) that the Charter Plaintiffs would



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pre-pay the non-APKS expenses, including fees from The Dacus Firm as Texas Counsel, and seek

reimbursement from each supplier quarterly for each supplier’s respective share of the expenses.

       ANSWER: Ubee admits that it did not object to CCI retaining APKS. Ubee admits that it

did not object to CCI pre-paying certain litigation costs and sending quarterly invoices for such

costs to Ubee. Except as specifically admitted, to the extent any response is required, Ubee denies

the allegations of Paragraph 31.

       32.     Ubee agreed to pay 16.7% of CCI’s defense costs because Ubee’s cable modems

initially represented 16.7% of the total accused and deployed devices (cable modems and set-top

boxes) identified in the First Amended Complaint. In making that calculation, the Charter

Plaintiffs noted that additional equipment by the same or other suppliers could be accused in the

future, at which time adjustments to the current supplier percentages could be warranted.

       ANSWER: Ubee denies the allegations of Paragraph 32.

       33.     In August 2022, the Charter Plaintiffs provided Ubee with updates on the Entropic

-125 Litigation, including that the Court had entered a Scheduling Order, a Protective Order, and

a discovery order, and that deadlines had been set for discovery, preliminary claim construction,

the Markman hearing and trial. The Charter Plaintiffs also notified Ubee that they were working

on a request for a proposal to retain a law firm to represent CCI in the litigation.

       ANSWER: Ubee admits that Ubee employees Edmond Liu and Lily Hung received an

email from Daniel Boglioli on August 15, 2022 regarding the case Scheduling Order, Protective

Order and Discovery Order, including dates from the case schedule. To the extent the allegations

in this paragraph purport to describe the August 15, 2022 email, the email speaks for itself, and

Ubee denies any characterization of the email inconsistent with its content. Except as specifically

admitted, to the extent any response is required, Ubee denies the allegations of Paragraph 33.




                                                 17
       34.      In November 2022, the Charter Plaintiffs informed Ubee and other equipment

suppliers that they had completed the process to select counsel for the litigation and that they

recommended moving forward with APKS to represent CCI in the Entropic -125 Litigation along

with The Dacus Firm as Texas counsel. The Charter Plaintiffs also provided a proposed budget

for APKS legal fees (excluding costs and expenses) through a trial of the case to Ubee and certain

other equipment suppliers. Under the Charter Plaintiffs’ agreement with APKS, the Charter

Plaintiffs are responsible to pay APKS’s legal fees and costs.

       ANSWER: Ubee admits that on November 30, 2022, Ubee employees Lily Hung and

Edmond Liu received an email from Daniel Boglioli to which was attached a spreadsheet setting

out responses from Goodwin Procter LLP, APKS, and Faegre Drinker Biddle & Reath for a fixed-

fee pricing model together with budget. To the extent the allegations in this paragraph purport to

describe the November 30, 2022 email and its attachment, those documents speak for themselves,

and Ubee denies any characterization of the documents inconsistent with their content. Except as

specifically admitted, to the extent any response is required, Ubee denies the allegations of

Paragraph 34.

       35.      Ubee agreed to the retention of APKS to represent CCI in the Entropic -125

Litigation and to pay Ubee’s provisional allocation of the Charter Plaintiffs’ defense costs.

       ANSWER: Ubee did not object to CCI’s hiring APKS to represent CCI in the Entropic -

125. Except as specifically admitted, to the extent any response is required, Ubee denies the

allegations of Paragraph 35.

       36.      Subsequently, Entropic provided a more precise identification of the allegedly

infringing equipment in its expert reports. Based on that more precise identification, Ubee supplied

approximately 50% of the allegedly infringing cable modems that the Charter Plaintiffs deployed.




                                                18
Those allegedly infringing cable modems constitute approximately 25% of the total number of

accused and deployed cable modems and set-top boxes.

       ANSWER: Ubee lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 36, and on that basis denies those allegations.

       37.      In January 2023, prior to Ubee’s agreement to have the Charter Plaintiffs pre-pay

the non-APKS expenses and seek reimbursement for the vendors quarterly, APKS began sending

invoices to Ubee for costs from other third-party vendors. APKS subsequently ceased that practice

after the agreement was reached and, therefore, non-APKS expenses were billed quarterly by the

Charter Plaintiffs. Beginning in February 2023, APKS provided Ubee with monthly invoices for

APKS legal fees and costs not billed directly to the Charter Plaintiffs incurred in connection with

the defense of CCI in the Entropic -125 Litigation. Beginning in April 2023, the Charter Plaintiffs

provided Ubee with quarterly invoices for additional defense expenses that CCI incurred in

connection with the Entropic -125 Litigation. Ubee made no payments of any invoices that it was

presented with by APKS or the Charter Plaintiffs, nor did it respond to emails requesting the status

of payment.

       ANSWER: Ubee admits that it received invoices from APKS purportedly for litigation

between Entropic and CCI. Ubee admits that, prior to February 2023, Ubee received requests for

payment from APKS for certain third-party litigation costs. Ubee admits that, after February 2023,

it received invoices from CCI purportedly for additional costs relating to the Entropic -125

Litigation. Ubee admits that it made no payment towards any of these invoices. Except as

specifically admitted, to the extent any response is required, Ubee denies the allegations of

Paragraph 37.




                                                19
        38.     On numerous occasions during the Spring of 2023, the Charter Plaintiffs raised with

Ubee its failure to pay its share of defense expenses in the Entropic -125 Litigation. In May 2023,

Ubee confirmed that it was responsible for making such payments, but indicated that it did not

then have the budget for making such payments. In June 2023, Ubee sought to renegotiate its

agreement to pay its share of defense costs in the Entropic -125 Litigation, which the Charter

Plaintiffs refused to do, and Ubee ultimately expressly stated its position that it did not owe the

Charter Plaintiffs defense and indemnification with respect to the Entropic -125 Litigation.

        ANSWER: Ubee admits that in July 2023, Ubee employee Lily Hung sent emails to Daniel

Boglioli denying Ubee’s 16.7% allocation of fees and costs and denying Ubee’s agreement to

indemnify CCO for amounts beyond a portion of the APKS fixed-fee budget of $4,645,250. Except

as specifically admitted, to the extent any response is required, Ubee denies the allegations of

Paragraph 38.

        39.     In July 2023, Entropic subpoenaed Ubee for documents and Ubee produced

documents in the Entropic -125 Litigation. Despite Ubee’s refusal to pay its share of defense costs,

the Charter Plaintiffs continued to keep Ubee apprised of important developments in the Entropic

-125 Litigation. Specifically, the Charter Plaintiffs provided Ubee with, among other things, the

complete briefing on the claim construction, the pleadings relating to invalidity and infringement

contentions, and redacted expert reports. The Charter Plaintiffs also continued to include Ubee in

calls and offered to provide Ubee with any additional information relating to the Entropic -125

Litigation.

        ANSWER: Ubee admits that it was subpoenaed and produced documents in the Entropic

-125 Litigation. Ubee admits that it received from CCI an incomplete selection of redacted filings

and discovery from the Entropic -125 Litigation. Ubee admits that it participated in at least two




                                                20
calls with CCI and other vendors regarding the Entropic -125 Litigation. Except as specifically

admitted, to the extent any response is required, Ubee denies the allegations of Paragraph 39.

E.     Entropic v. Charter -052 Litigation

       40.     On February 10, 2023, Entropic filed the Entropic -052 Litigation against CCI. On

April 19, 2023, Entropic filed an amended complaint in the Entropic -052 Litigation. In the

Entropic -052 Litigation, Entropic asserted that CCI’s deployment of certain set-top boxes

infringed two Entropic patents: U.S. Patent Nos. 11,381,866 and 11,399,206, and that these patents

were continuations of U.S. Patent No. 9,210,362, which was at issue in the Entropic -125

Litigation. Entropic also made clear in its infringement contentions in the Entropic -052 Litigation

that it intends to read the claims on both set-top boxes and cable modems.

       ANSWER: Ubee lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 40, and on that basis denies those allegations.

F.     The Charter Plaintiffs Notify Ubee of the Entropic -052 Litigation

       41.     On September 29, 2023, the Charter Plaintiffs gave written notice to Ubee of the

Entropic -052 Litigation, provided Ubee with a copy of the Amended Complaint and Entropic’s

infringement contentions, and tendered the case to Ubee for defense and indemnification. The

infringement contentions identified Accused Cable Modem Products, including Ubee’s

“E31U2V1, EU2251, and EU4251” cable modems of infringing Entropic’s asserted patents.

       ANSWER: Ubee admits that it received a letter dated September 29, 2023 from Daniel

Boglioli with the subject “Entropic Communications, LLC v. Charter Communications, Inc., Case

No. 2:23-cv-052 (E.D. Tx ) (the ‘-052 Case’)” and that the letter enclosed documents referred to

as First Amended Complaint, Entropic PR 3-1 and 3-2 Disclosures, Exhibit A – Entropic Claim

Chart 11,399.206, and Exhibit B – Entropic Claim Chart 11,381,866. To the extent the allegations

in this paragraph purport to describe the letter and its enclosures, these documents speak for


                                                21
themselves, and Ubee denies any characterization of the letter and its enclosures inconsistent with

their content. Except as specifically admitted, to the extent any response is required, Ubee denies

the allegations of Paragraph 41.

       42.     In the September 29, 2023 notice, the Charter Plaintiffs noted that, as in the

Entropic -125 Litigation, due to the number of implicated suppliers, it was the Charter Plaintiffs’

experience that it is more efficient and cost effective to have the suppliers retain a single law firm

to defend the litigation with respect to all of the accused equipment and to have the suppliers

contribute to the defense costs at their proportionate share of the accused equipment. The Charter

Plaintiffs further noted that as both set-top boxes and cable modems were accused of infringement,

the Charter Plaintiffs believed it was appropriate to allocate 50% of the defense costs to the

manufacturers of the Charter Plaintiffs’ accused cable modems and 50% of the defense costs to

the manufacturers of the Charter Plaintiffs’ accused set-top boxes.

       ANSWER: To the extent the allegations in this paragraph purport to describe the

September 29, 2023 letter, the letter speaks for itself, and Ubee denies any characterization of the

letter inconsistent with its content. Except as specifically admitted, to the extent any response is

required, Ubee denies the allegations of Paragraph 42.

       43.     As previously communicated to Ubee in the Entropic -125 Litigation, Ubee

supplied 50% of the cable modems and approximately 25% of the total number of accused and

deployed cable modems and set-top boxes. Accordingly, the Charter Plaintiffs requested that Ubee

pay 25% of the defense costs of the Entropic -052 Litigation.

       ANSWER: To the extent the allegations in this paragraph purport to describe the

September 29, 2023 letter, the letter speaks for itself, and Ubee denies any characterization of the




                                                 22
letter inconsistent with its content. Except as specifically admitted, to the extent any response is

required, Ubee denies the allegations of Paragraph 43.

       44.     Finally, the September 29, 2023 letter stated that the Charter Plaintiffs looked

forward to working together with Ubee to effectively defend the case and that if the Charter

Plaintiffs did not receive a response from Ubee, they reserved all of their rights, including the right

to seek reimbursement from Ubee for any defense costs and the cost of any settlement or judgment.

       ANSWER: To the extent the allegations in this paragraph purport to describe the

September 29, 2023 letter, the letter speaks for itself, and Ubee denies any characterization of the

letter inconsistent with its content. Except as specifically admitted, to the extent any response is

required, Ubee denies the allegations of Paragraph 44.

       45.     Ubee failed to respond to the Charter Plaintiffs’ September 29, 2023 letter or

otherwise agree to provide the Charter Plaintiffs with defense and indemnification with respect to

the Entropic -052 Litigation.

       ANSWER: Ubee admits that it did not specifically respond to the September 29, 2023

letter. Ubee further admits that it did not agree to provide the Charter Plaintiffs with defense and

indemnification with respect to the Entropic -052 Litigation in response to their purported tender.

Except as specifically admitted, to the extent any response is required, Ubee denies the allegations

of Paragraph 45.

       46.     On October 31, 2023, Entropic filed a Second Amended Complaint in the Entropic

-052 Litigation that asserted that newly-issued U.S. Patent No. 11,785,275 was also a continuation

of U.S. Patent No. 9,210,362, which was at issue in the Entropic -125 Litigation. The Second

Amended Complaint accuses various devices including Ubee’s “E31U2V1, EU2251, and

EU4251” cable modems of infringing Entropic’s asserted patents.




                                                  23
       ANSWER: Ubee admits that the court docket in the Entropic -052 Litigation reflects that,

on October 31, 2023, Entropic filed a Second Amended Complaint. To the extent the allegations

in this paragraph purport to describe the Second Amended Complaint, the Second Amended

Complaint speaks for itself and Ubee denies any characterization of the Second Amended

Complaint inconsistent with its content. Except as specifically admitted, to the extent any response

is required, Ubee denies the allegations of Paragraph 46.

G.     The Charter Plaintiffs Settle the Litigations With Entropic

       47.     The Charter Plaintiffs engaged in settlement discussions with Entropic and

conveyed to Ubee Entropic’s offer of settlement.

       ANSWER: Ubee admits that it received an email on November 10, 2023 regarding

settlement with Entropic. To the extent the allegations in this paragraph purport to describe the

November 10, 2023 email, the email speaks for itself and Ubee denies any characterization

inconsistent with the email’s content. Except as specifically admitted, to the extent any response

is required, Ubee denies the allegations of Paragraph 47.

       48.     Ubee twice rejected the Charter Plaintiffs’ requests to contribute to the settlement.

On November 17, 2023, Ubee stated that it “was unable to commit to any contribution” because

“(1) Ubee does not feel comfortable about a proposal involving four cases when Ubee’s products

are not accused in two of the cases; and (2) the asserted claims across the four actions simply do

not justify the proposed allocation of the entire settlement amount among hardware vendors only

excluding Charter itself and CMTS suppliers.” On December 4, 2023, Ubee, along with other

suppliers, wrote to the Charter Plaintiffs to “collectively deny Charter’s request for contribution to

Entropic’s” settlement offer.

       ANSWER: Ubee admits that it did not consent to the settlement with Entropic and has

rejected any obligation to pay any amount thereof, and that the quotations in Paragraph 48 are


                                                 24
accurate excerpts from correspondence sent on behalf of Ubee. Except as specifically admitted, to

the extent any response is required, Ubee denies the allegations of Paragraph 48.

       49.     On December 10, 2023, CCI settled the Entropic -125 Litigation, the Entropic -052

Litigation and the Entropic MoCA Litigations.

       ANSWER: Ubee lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 49, and on that basis denies those allegations.

       50.     On December 29, 2023, the Charter Plaintiffs provided a written demand for

payment for Ubee’s share of the defense costs and settlement amount in the Entropic -125

Litigation and the Entropic -052 Litigation. The Charter Plaintiffs informed Ubee of the

methodology used to determine Ubee’s share of the defense costs and the settlement amount. The

Charter Plaintiffs demanded $10.33 million for Ubee’s share of the settlement amount for the

Entropic -125 Litigation, $1.98 million for Ubee’s share of the settlement amount for the Entropic

-052 Litigation, and Ubee’s share of the defense costs to date at that time—$1,705,469 for Ubee’s

share of the defense costs in the Entropic -125 Litigation and $53,879.75 for Ubee’s share of the

defense costs in the Entropic -052 Litigation.

       ANSWER: Ubee admits that it received a letter dated December 29, 2023 from Daniel

Boglioli with the subject “Demand for Payment of Share of Defense Costs and Settlement Amount

– Entropic Communications, LLC v. Charter Communications, Inc., et al., Case No. 2:22-CV-125

(E.D. Tx) (the ‘-125 Case’) and Entropic Communications, LLC v. Charter Communications, Inc.

et al., Case No. 2:23-cv-052 (E.D. Tx) (the ‘-052 Case).” To the extent the allegations in this

paragraph purport to describe the December 29, 2023 letter, the letter speaks for itself, and Ubee

denies any characterization of the letter inconsistent with its content. Except as specifically

admitted, to the extent any response is required, Ubee denies the allegations of Paragraph 50.




                                                 25
        51.    For the Entropic -125 Litigation, Ubee’s share of the settlement amount is $10.33

million and Ubee’s share of defense costs to date is now $2,189,330.16. For the Entropic -052

Litigation, Ubee’s share of the settlement amount is $1.98 million and Ubee’s share of the defense

costs to date is now $92,842.42.

        ANSWER: Ubee denies the allegations of Paragraph 51.

        52.    Ubee has not made any payment of defense costs or the settlement amount in the

Entropic -125 Litigation or the Entropic -052 Litigation and is in material breach of its obligations

under the Ubee MPA.

        ANSWER: Ubee admits it has not made any payment of defense costs or the settlement

amount in the Entropic -125 Litigation or the Entropic -052 Litigation. Ubee denies the Charter

Plaintiffs’ implication that Ubee was obligated to make such payments, and except as specifically

admitted, Ubee denies the allegations of Paragraph 52. Ubee is not required to answer legal

conclusions and argument.

                                COUNT I – Breach of Contract
                       (Indemnification Related to Entropic -125 Litigation)

        53.    Plaintiffs repeat and reallege paragraphs 1 through 52 as if fully set forth herein.

        ANSWER: Paragraph 53 incorporates earlier allegations, so no response is required. To

the extent any response is required, Ubee repeats and incorporates by reference each and every

answer in Paragraphs 1 through 53 above as if fully set forth herein.

        54.    The Charter Plaintiffs and Ubee entered into the Ubee MPA.

        ANSWER: Ubee admits that it entered into the MPA with CCO. Except as otherwise

admitted, Ubee denies the allegations contained in Paragraph 54.

        55.    The Ubee MPA is an enforceable agreement between the Charter Plaintiffs and

Ubee.



                                                 26
       ANSWER: Ubee admits that the MPA is an enforceable agreement between CCO and

Ubee. Except as otherwise admitted, Ubee denies the allegations contained in Paragraph 55.

       56.     At all relevant times, the Charter Plaintiffs have fully performed all the conditions,

covenants, and promises required by the Ubee MPA.

       ANSWER: Ubee denies the allegations of Paragraph 56.

       57.     Pursuant to the Ubee MPA, Ubee sold cable modems to CCO that were used by the

Charter Plaintiffs to provide internet services to their customers.

       ANSWER: Ubee admits that it has sold cable modems to CCO pursuant to the MPA.

Except as specifically admitted, to the extent any response is required, Ubee denies the allegations

of Paragraph 57.

       58.     Charter Communications, Inc. is a Charter Affiliate and Charter Indemnitee under

the Ubee MPA.

       ANSWER: Ubee lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 58, and on that basis denies those allegations.

       59.     On April 27, 2022, Entropic commenced the Entropic -125 Litigation against CCI,

alleging that CCI has and continues to lease, sell, and/or distribute certain cable modems, including

the “Arris AB6183 cable modem, Spectrum PC20 (e.g., the Spectrum EU2251) cable modem, and

products that operate in a similar manner (the ‘Accused Cable Modem Products’)” and that CCI’s

use of the Accused Cable Modem Products infringes three patents held by Entropic. Ubee supplied

the cable modems to the Charter Plaintiffs identified as the Spectrum EU2251.

       ANSWER: Ubee admits that the court docket reflects that, on April 17, 2022, Entropic

filed an action captioned Entropic Communications, LLC v. Charter Communications, Inc., Case

No. 2:22-cv-00125 in the U.S. District Court for the Eastern District of Texas. To the extent the




                                                 27
allegations in this paragraph purport to describe the contents of the complaint in that action, the

complaint speaks for itself and Ubee denies any characterization of the complaint that is

inconsistent with its contents. Ubee admits that it sold cable modems to CCO and that, on

information and belief, CCO assigned some of those cable modems model numbers. Except as

specifically admitted, Ubee lacks knowledge or information sufficient to form a belief as to the

truth of the remainder of the allegations in Paragraph 59, and on that basis denies those allegations.

       60.     The Charter Plaintiffs provided notice of the Entropic -125 Litigation to Ubee on

June 1, 2022 and tendered the case for defense and indemnification. Ubee did not assume the

defense of the Entropic -125 Litigation or retain counsel to represent CCI.

       ANSWER: To the extent the allegations in the first sentence of this paragraph purport to

describe the June 1, 2022 letter, the letter speaks for itself, and Ubee denies any characterization

of the letter inconsistent with its content. Ubee admits that it did not assume the defense of or

engage counsel to defend itself or CCI in the Entropic -125 Litigation. Except as specifically

admitted, to the extent any response is required, Ubee denies the allegations of Paragraph 60.

       61.     Because Ubee failed to assume CCI’s defense, the Charter Plaintiffs undertook the

defense and Ubee is required under the Ubee MPA to reimburse the Charter Plaintiffs for defense

costs and any settlement amount.

       ANSWER: Ubee denies the allegations of Paragraph 61.

       62.     Additionally, when Ubee and the Charter Plaintiffs’ other suppliers failed to assume

CCI’s defense of the Entropic -125 Litigation, each agreed to pay for its respective share of the

Charter Plaintiffs’ defense costs based on the supplier’s respective share of the specifically accused

equipment. The Charter Plaintiffs calculated Ubee’s share based on the percentage of allegedly

infringing equipment identified in paragraph 11 of the First Amended Complaint that Ubee




                                                 28
supplied as compared to the total number of allegedly infringing cable modems and set-top boxes

that the Charter Plaintiffs deployed. Ubee supplied 16.7% of the total accused and deployed

devices (cable modems and set-top boxes) identified in the First Amended Complaint in the

Entropic -125 Litigation.

       ANSWER: Ubee denies the allegations in the first sentence of Paragraph 62. Ubee lacks

knowledge or information sufficient to form a belief as to the truth of the allegations in the second

and third sentences of Paragraph 62, and on that basis denies those allegations.

       63.     In making that calculation, the Charter Plaintiffs noted that additional equipment

by the same or other suppliers could be accused in the future, at which time adjustments to the

current suppliers percentages could be warranted. Subsequently, Entropic provided a more precise

identification of the allegedly infringing equipment in its expert reports. Based on that information,

Ubee supplied approximately 50% of the allegedly infringing cable modems that the Charter

Plaintiffs deployed. Those allegedly infringing cable modems constitute approximately 25% of

the total number of accused and deployed cable modems and set-top boxes.

       ANSWER: Ubee lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 63, and on that basis denies those allegations

       64.     In January 2023, prior to Ubee’s agreement to have the Charter Plaintiffs pre-pay

the non-APKS expenses and seek reimbursement for the vendors quarterly, APKS began sending

invoices to Ubee for costs from other third-party vendors. APKS subsequently ceased that practice

after the agreement was reached and, therefore, non-APKS expenses were billed quarterly by the

Charter Plaintiffs. Beginning in February 2023, APKS provided Ubee with monthly invoices for

APKS legal fees and costs not billed directly to the Charter Plaintiffs incurred in connection with

the defense of CCI in the Entropic -125 Litigation. Beginning in April 2023, the Charter Plaintiffs




                                                 29
provided Ubee with quarterly invoices for additional defense expenses that CCI incurred in

connection with the Entropic -125 Litigation. Ubee made no payments of any invoices that it was

presented with by APKS or the Charter Plaintiffs, nor did it respond to emails requesting the status

of payment.

       ANSWER: Ubee admits that it received invoices from APKS purportedly for litigation

between Entropic Communications, LLC and Charter Communications, Inc. Ubee admits that,

prior to February 2023, Ubee received requests for payment from APKS for certain third-party

litigation costs. Ubee admits that, after February 2023, it received invoices from CCO purportedly

for additional costs relating to the -125 Litigation. Ubee admits that it made no payment towards

any of these invoices. Except as specifically admitted, to the extent any response is required, Ubee

denies the allegations of Paragraph 64.

       65.     Ubee has refused to pay any of the invoiced amounts for defense costs that the

Charter Plaintiffs incurred in defending the Entropic -125 Litigation.

       ANSWER: Ubee admits that it has not paid any invoices that it received purportedly in

connection with the Entropic -125 Litigation. To the extent that these allegations imply that Ubee

had any obligation to pay these invoices, Ubee denies that it has any such obligation and, except

as specifically admitted, Ubee denies the allegations of Paragraph 65.

       66.     Ubee also repeatedly refused to participate in or contribute to any effort to settle

the cases with Entropic. Ubee twice rejected the Charter Plaintiffs’ requests to contribute to the

settlement.

       ANSWER: With respect to the first sentence of Paragraph 66, Ubee admits that it did not

participate in or contribute to “any effort to settle” the cases with Entropic. To the extent the

Charter Plaintiffs imply that Ubee had any obligation, or the opportunity, to participate in or




                                                30
contribute to “any effort to settle” the cases with Entropic, Ubee denies that it had any such

obligation or opportunity, and, except as specifically admitted, Ubee denies the allegations in the

first sentence of Paragraph 66. With respect to the second sentence of Paragraph 66, Ubee admits

that it did not contribute to the settlement of the Entropic lawsuits against Charter Plaintiffs. To

the extent these allegations imply that Ubee had any obligation to contribute to that settlement,

Ubee denies that it has any such obligation and, except as specifically admitted, Ubee denies the

allegations in the second sentence of Paragraph 66.

        67.     On December 10, 2023, the Charter Plaintiffs and Entropic settled the Entropic

-125 Litigation, together with the Entropic -052 Litigation and the Entropic MoCA Litigations.

        ANSWER: Ubee lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 67, and on that basis denies those allegations

        68.     On December 29, 2023, the Charter Plaintiffs provided a written demand for

payment for Ubee’s share of the defense costs and settlement amount in the Entropic -125

Litigation, together with the Entropic -052 Litigation. The Charter Plaintiffs informed Ubee of the

methodology used to determine Ubee’s share of the defense costs and the settlement amount for

those litigations.

        ANSWER: To the extent the allegations in this paragraph purport to describe the

December 29, 2023 letter, the letter speaks for itself, and Ubee denies any characterization of the

letter inconsistent with its content.

        69.     For the Entropic -125 Litigation, Ubee’s share of the settlement amount is $10.33

million and Ubee’s share of defense costs to date is $2,189,330.16.

        ANSWER: Ubee denies the allegations of Paragraph 69.




                                                31
        70.    Ubee has refused to pay its share of the defense costs and settlement of the Entropic

-125 Litigation and is in material breach of its obligations under the Ubee MPA.

        ANSWER: Ubee admits that it has not made any payments towards defense costs and

settlement of the Entropic -125 Litigation. To the extent these allegations imply that Ubee is

obligated to make such payments, Ubee denies that it has any such obligation and, except as

specifically admitted, Ubee denies the allegations of Paragraph 70.

        71.    The Charter Plaintiffs suffered damages as a result of Ubee’s material breaches.

The amount that Ubee owes or will owe in connection with the Entropic -125 Litigation, including

liability for its share of the settlement and for defense costs, exceeds $75,000.

        ANSWER: Ubee denies the allegations of Paragraph 71.

                               COUNT II – Breach of Contract
                       (Indemnification Related to Entropic -052 Litigation)

        72.    Plaintiffs repeat and reallege paragraphs 1 through 71 as if fully set forth herein.

        ANSWER: Paragraph 72 incorporates earlier allegations, so no response is required. To

the extent any response is required, Ubee repeats and incorporates by reference each and every

answer in Paragraphs 1 through 72 above as if fully set forth herein.

        73.    The Charter Plaintiffs and Ubee entered into the Ubee MPA.

        ANSWER: Ubee admits that it entered into the MPA with CCO. Except as otherwise

admitted, Ubee denies the allegations contained in Paragraph 73.

        74.    The Ubee MPA is an enforceable agreement between the Charter Plaintiffs and

Ubee.

        ANSWER: Ubee admits that the MPA is an enforceable agreement between CCO and

Ubee. Except as otherwise admitted, Ubee denies the allegations contained in Paragraph 74.




                                                 32
       75.     At all relevant times, the Charter Plaintiffs have fully performed all the conditions,

covenants, and promises required by the Ubee MPA.

       ANSWER: Ubee denies the allegations of Paragraph 75.

       76.     Pursuant to the Ubee MPA, Ubee sold cable modems to CCO that were used by the

Charter Plaintiffs to provide internet services to their customers.

       ANSWER: Ubee admits that it has sold cable modems to CCO pursuant to the MPA.

Except as specifically admitted, Ubee lacks knowledge or information sufficient to form a belief

as to the truth of the remainder of the allegations in Paragraph 76, and on that basis denies those

allegations.

       77.     On February 10, 2023, Entropic commenced the Entropic -052 Litigation against

CCI, asserting that the Charter Plaintiffs’ deployment of certain set-top boxes infringed two

Entropic patents: U.S. Patent Nos. 11,381,866 and 11,399,206, and that these patents were

continuations of U.S. Patent No. 9,210,362, which was at issue in the Entropic -125 Litigation.

Entropic also made clear in its infringement contentions in the Entropic -052 Litigation that it

intends to read the claims on both set-top boxes and cable modems. The infringement contentions

identified Accused Cable Modem Products, including Ubee’s “E31U2V1, EU2251, and EU4251”

cable modems of infringing Entropic’s asserted patents.

       ANSWER: Ubee admits that the court docket reflects that, on February 10, 2023, Entropic

filed an action captioned Entropic Communications, LLC v. Charter Communications, Inc., Case

No. 2:22-cv-00052 in the U.S. District Court for the Eastern District of Texas. To the extent the

allegations in this paragraph purport to describe the contents of the complaint in that action, the

complaint speaks for itself and Ubee denies any characterization of the complaint that is

inconsistent with its contents. Ubee admits that it sold cable modems to CCO and that, on




                                                 33
information and belief, CCO assigned some of those cable modems model numbers. Except as

specifically admitted, Ubee lacks knowledge or information sufficient to form a belief as to the

truth of the remainder of the allegations in Paragraph 77, and on that basis denies those allegations.

       78.     On October 31, 2023, Entropic filed a Second Amended Complaint in the Entropic

-052 Litigation that asserted that newly-issued U.S. Patent No. 11,785,275 was also a continuation

of U.S. Patent No. 9,210,362, which was at issue in the Entropic -125 Litigation. The Second

Amended Complaint accuses various devices including Ubee’s “E31U2V1, EU2251, and

EU4251” cable modems of infringing Entropic’s asserted patents.

       ANSWER: Ubee admits that the court docket in the Entropic -052 Litigation reflects that,

on October 31, 2023, Entropic filed a Second Amended Complaint. To the extent the allegations

in this paragraph purport to describe the Second Amended Complaint, the Second Amended

Complaint speaks for itself and Ubee denies any characterization of the Second Amended

Complaint inconsistent with its content. Except as specifically admitted, to the extent any response

is required, Ubee denies the allegations of Paragraph 78.

       79.     Charter Communications, Inc. is a Charter Affiliate and Charter Indemnitee under

the Ubee MPA.

       ANSWER: Ubee lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 79, and on that basis denies those allegations.

       80.     The Charter Plaintiffs provided notice of the Entropic -052 Litigation to Ubee on

September 29, 2023 and tendered the case for defense and indemnification. Ubee did not assume

the defense of the Entropic -052 Litigation or retain counsel to represent CCI.

       ANSWER: To the extent the allegations in the first sentence of this paragraph purport to

describe the September 29, 2023 letter, the letter speaks for itself, and Ubee denies any




                                                 34
characterization of the letter inconsistent with its content. Ubee admits that it did not hire counsel

to defend itself or CCI in the Entropic -052 Litigation. Except as specifically admitted, to the extent

any response is required, Ubee denies the allegations of Paragraph 80

        81.    Because Ubee failed to assume CCI’s defense, the Charter Plaintiffs undertook the

defense of the case and Ubee is required to reimburse the Charter Plaintiffs for defense costs and

any settlement amount.

        ANSWER: Ubee denies the allegations of Paragraph 81.

        82.    Ubee is responsible for payment of 25% of the defense costs in the Entropic -052

Litigation.

        ANSWER: Ubee denies the allegations of Paragraph 82.

        83.    Ubee has failed to respond to the Charter Plaintiffs’ requests for defense and

indemnification and has denied its defense and indemnification obligations.

        ANSWER: Ubee admits that it has not agreed to defend and indemnify the Charter

Plaintiffs in the Entropic -052 Litigation. To the extent these allegations imply that Ubee was

obligated to defend and indemnify the Charter Plaintiffs, Ubee denies that it had any such

obligation and, except as specifically admitted, Ubee denies the allegations of Paragraph 83.

        84.    Ubee also repeatedly refused to participate in or contribute to any effort to settle

the cases with Entropic. Ubee twice rejected the Charter Plaintiffs’ requests to contribute to the

settlement.

        ANSWER: With respect to the first sentence of Paragraph 84, Ubee admits that it did not

participate in or contribute to “any effort to settle” the cases with Entropic. To the extent the

Charter Plaintiffs imply that Ubee had any obligation, or the opportunity, to participate in or

contribute to “any effort to settle” the cases with Entropic, Ubee denies that it had any such




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obligation or opportunity, and, except as specifically admitted, Ubee denies the allegations in the

first sentence of Paragraph 84. With respect to the second sentence of Paragraph 84, Ubee admits

that it did not contribute to the settlement of the Entropic lawsuits against Charter Plaintiffs. To

the extent these allegations imply that Ubee is obligated to contribute to that settlement, Ubee

denies that it has any such obligation and, except as specifically admitted, Ubee denies the

allegations of the second sentence of Paragraph 84.

        85.     On December 10, 2023, the Charter Plaintiffs and Entropic settled the Entropic

-052 Litigation, together with the Entropic -125 Litigation and the Entropic MoCA Litigations.

        ANSWER: Ubee lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 85, and on that basis denies those allegations.

        86.     On December 29, 2023, the Charter Plaintiffs provided a written demand for

payment for Ubee’s share of the defense costs and settlement amount in the Entropic -052

Litigation, together with the Entropic -125 Litigation. The Charter Plaintiffs informed Ubee of the

methodology used to determine Ubee’s share of the defense costs and the settlement amount.

        ANSWER: To the extent the allegations of this paragraph purport to describe the

December 29, 2023 letter, the letter speaks for itself, and Ubee denies any characterization of the

letter inconsistent with its content.

        87.     For the Entropic -052 Litigation, Ubee’s share of the settlement amount is $1.98

million and Ubee’s share of the defense costs to date is $92,842.42.

        ANSWER: Ubee denies the allegations of Paragraph 87.

        88.     Ubee has refused to pay its share of defense costs or the settlement of the Entropic

-052 Litigation and is in material breach of its obligations under the Ubee MPA.




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       ANSWER: Ubee admits that it has not made any payments towards defense costs and

settlement of the Entropic -052 Litigation. To the extent these allegations imply that Ubee is

obligated to make such payments, Ubee denies that it has any such obligation and, except as

specifically admitted, Ubee denies the allegations of Paragraph 88.

       89.     The Charter Plaintiffs suffered damages as a result of Ubee’s material breaches.

The amount that Ubee owes or will owe in connection with the Entropic -052 Litigation, including

liability for its share of the settlement and for defense costs, exceeds $75,000.

       ANSWER: Ubee denies the allegations of Paragraph 89.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court issue judgment for Plaintiffs

and against Defendant as follows:

       a)      On their first claim for relief, awarding Plaintiffs such damages as are allowed by

law and determined to have been sustained by them as a result of Defendant’s material breaches

of its obligations under the Ubee MPA to pay its share of the defense costs and settlement of the

Entropic -125 Litigation;

       b)      On their second claim for relief, awarding Plaintiffs such damages as are allowed

by law and determined to have been sustained by them as a result of Defendant’s material breaches

of its obligations under the Ubee MPA to pay its share of the defense costs and settlement of the

Entropic -052 Litigation; and

       c)      Granting Plaintiffs such other, further, and different relief as it finds just, necessary,

and proper under the circumstances.

       ANSWER: Ubee denies that Plaintiffs are entitled to any of the requested relief.

                                  AFFIRMATIVE DEFENSES




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        By alleging the defenses set forth below, Ubee intends no alteration of the burden of proof

that otherwise exists with respect to any particular issue. Furthermore, all such defenses are

pleaded in the alternative and do not constitute an admission that Plaintiffs are entitled to any relief.

        1.      Plaintiffs’ Complaint fails to state a claim upon which relief may be granted because

Plaintiffs’ claims seek indemnification for Plaintiffs’ own intentional or reckless infringement of the

relevant patents in the Entropic -125 Litigation and Entropic -052 Litigation and therefore Plaintiffs’

claims fail because such indemnification would be unlawful and/or violate public policy.


        2.      Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs intentionally or

recklessly infringed the relevant patents in the Entropic -125 Litigation and Entropic -052 Litigation,

and indemnification for such conduct would be unlawful.


        3.      Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs intentionally or

recklessly infringed the relevant patents in the Entropic -125 Litigation and Entropic -052 Litigation,

and indemnification for such conduct would violate public policy.


        4.      Plaintiffs’ claims are barred, in whole or in part, because the sums Plaintiffs claim for

defense costs and settlement do not relate to the installation, use, deployment or exploitation of the

Goods provided by Ubee, as that term is used in the MPA.


        5.      Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs failed to take

reasonable efforts to mitigate their damages, if any.


        6.      Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs owe monies to

Ubee, and Ubee has the right to recoupment of the amount owed, and any purported damages

recoverable by Plaintiffs must be reduced against this amount.



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        7.        Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs owe monies to

Ubee, and Ubee has the right to a setoff of the amount owed, and any purported damages recoverable

by Plaintiffs must be reduced against this amount.


        8.        Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs increased the risks

to and/or prejudiced the rights of Ubee by withholding or failing to disclose material information

pertaining to the Entropic -125 Litigation and/or Entropic -052 Litigation.


        9.        Plaintiffs’ claims are barred, in whole or in part, because Plaintiff failed to provide

adequate relevant information pertaining to the Entropic -125 Litigation and/or Entropic -052

Litigation as required by the MPA.


        10.       Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs failed to timely

and/or adequately give notice and tender the defense of the Entropic -125 Litigation and/or Entropic -

052 Litigation.


        11.       Plaintiffs’ claims are barred, in whole or in part, because, to the extent that Ubee

purportedly agreed to pay for any portion of Plaintiffs’ defense cost or of their settlement of the

underlying litigation, such agreement, if any, was induced by fraud, by way of material

misrepresentations and/or omissions concerning matters of which Plaintiffs had superior knowledge,

and upon which Ubee reasonably relied. Allegations in support of this defense include, without

limitation:


                  a.      On June 29, 2022, Daniel Boglioli, an in-house lawyer for Plaintiffs, sent
                          Ubee an email, stating that Ubee’s share of the accused products in the
                          Entropic -125 Litigation was 16.7%, and that therefore Ubee should agree to
                          this percentage of defense costs and any future settlement. By this time,
                          however, representatives of Plaintiffs, including Boglioli, knew, or should



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     have known, but Ubee did not and could not reasonably have known, that
     Ubee’s actual purported share of any liability was lower.

b.   Specifically, Plaintiffs knew or should have known from Entropic’s
     allegations that the vast majority of liability for the case involved services
     offered on or through other devices not supplied by Ubee, which were not
     subject to indemnification under the MPA. An example of this is the CMTS,
     through which Plaintiffs control various services accused of infringement in
     the Entropic-125 Litigation. Unlike a cable modem, which is typically
     deployed one per household, a CMTS services many households—and those
     households also would have a cable modem. By calculating responsibility
     based on accused products—i.e., percentages of equipment deployed—
     Plaintiffs deliberately shifted a disproportionate amount of responsibility onto
     cable modem manufacturers.

c.   Tellingly, the Plaintiffs have repeatedly refused to explain their 16.7%
     calculation to Ubee.

d.   On November 30, 2022, Boglioli sent Ubee an email attaching a spreadsheet
     that provided the defense-cost proposals for the Entropic -125 Litigation by
     APKS and other law firms. The proposals were based on “assumptions” that
     Plaintiffs placed in the spreadsheet, including that there would be only 5-10
     depositions of Plaintiffs’ fact witnesses, 5 depositions of third parties, 9
     inventor depositions, 1-2 depositions of Entropic fact witnesses, and 5
     depositions of Entropic’s experts. By this time, however, representatives of
     Plaintiffs, including Boglioli, knew, but Ubee did not and could not
     reasonably have known, that the Entropic -125 Litigation required
     substantially more discovery, including more fact and expert depositions.
     They also knew, but Ubee did not and could not reasonably have known, that
     these assumptions would cause Ubee to believe incorrectly that the potential
     liability would be relatively low, when in reality, potential liability would be
     substantial because, amongst other reasons, of Plaintiffs’ refusal to stop
     infringing activity (such as the activation of the full band capture
     functionality) that Plaintiffs only later admitted provided no value to
     Plaintiffs.

e.   On December 5, 2022, Boglioli emailed Ubee, stating that the “$4,645,250”
     capped fee proposed by APKS “would be the legal fees through trial (should
     trial be necessary).” By this time, however, representatives of Plaintiffs,
     including Boglioli, knew, but Ubee did not and could not reasonably have
     known, the amount was based on assumptions which Plaintiffs knew or
     should have known to be false, and that trial was reasonably certain. They
     also knew that this statement would cause Ubee to believe incorrectly that
     Ubee’s responsibility for defense costs, if any, would be capped at 16.7% of
     $4,645,250.




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                f.      In reasonable reliance upon these and other materially false representations
                        and/or material omissions by Boglioli and other representatives of Plaintiffs,
                        Ubee purportedly agreed to (i) taking on a 16.7% share of the settlement for
                        the Entropic -125 Litigation; (ii) Plaintiffs’ hiring of APKS as counsel; and
                        (iii) taking on a 16.7% share of APKS’s legal fees.



        12.     Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs represented to

Ubee that it would be responsible for paying a share of defense costs calculated using APKS’s “fixed

fee” and therefore Plaintiffs, to the extent they are entitled to recover any defense costs (which they

are not), are estopped from seeking to recover defense costs from Ubee for amounts in excess of the

stated share of the “fixed fee.”


        13.     Ubee does not knowingly or intentionally waive any affirmative defenses and

reserves the right to assert any additional defense and/or claim of avoidance as may be appropriate

based on the facts or issues disclosed during the course of additional investigation or discovery.


        WHEREFORE, Ubee respectfully requests that the Court dismiss Plaintiffs’ Complaint

with prejudice and enter judgment in favor of Ubee, award Ubee its costs and fees incurred herein,

and grant other and further relief as the Court deems just and proper.

                                   UBEE’S COUNTERCLAIMS

        For its Counterclaims against Plaintiff/Counterclaim Defendant Charter Communications

Operating, LLC (“CCO”) and Counterclaim Defendant Charter Distribution LLC (“CD”),

Defendant/Counterclaim Plaintiff Ubee Interactive Inc. (“Ubee”) states as follows:

                                              The Parties

        1.      Ubee Interactive Inc. is a California corporation with its principal place of business in

Colorado.




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        2.      Upon information and belief, Charter Communications Operating, LLC is a Delaware

limited liability company with its principal place of business in Missouri.

        3.      Upon information and belief, Charter Distribution LLC is a Delaware limited liability

company with its principal place of business in Missouri.

                                              Jurisdiction


        4.      The Court has jurisdiction over Ubee’s counterclaims pursuant to 28 U.S.C. §

1332(a) because the parties are citizens of different states and the amount in controversy exceeds

$75,000, exclusive of interest. The Court also has jurisdiction over Ubee’s counterclaims pursuant to

28 U.S.C. § 1367(a) and in accordance with Fed. R. Civ. P. 13(b). Ubee will separately move to add

CD as a Counterclaim Defendant pursuant to Fed R. Civ. P. 13(h), 19 and 20.

                                         Factual Background

        5.      Counterclaim Plaintiff Ubee supplies modems and gateways for telecommunications

companies. Ubee manufactures these products according to its customers’ specifications so that they

are operable on customers’ communications networks.

        6.      On information and belief, Counterclaim Defendant CCO is an affiliate of cable

provider Charter Communications, Inc. CCO executed the agreements at issue in these

counterclaims. On information and belief, Counterclaim Defendant CD is an affiliate of CCO and the

entity through which CCO issues purchase orders and pays invoices for purposes relevant to these

counterclaims (CCO and CD together hereinafter called “Charter”).

        7.      Charter is a longtime customer of Ubee. Ubee manufactures cable modems for

Charter pursuant to Charter’s product specifications. Under Ubee and Charter’s general practice, the

parties agree upon a price for the cable modems. This price includes the costs for all components of

the modems, which Ubee procures and pays for directly from various vendors. The agreed modem



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price is coded into Charter’s purchase order (“PO”) system. Charter issues POs for the purchase of

modems from Ubee. Ubee, in turn, orders the necessary components and issues invoices to Charter

for the cable modem POs, and Charter remits payment to Ubee on these invoices.

                               Microchip Vendor’s Component Costs

        8.      A necessary component within the Charter cable modems manufactured by Ubee is a

specialized microchip set supplied by a vendor referred to herein as “Microchip Vendor.”1 To Ubee’s

understanding, these are the only microchips on the market that meet the product specifications

provided by Charter for the modems.

        9.      The purchase price for these microchips is negotiated between Charter and Microchip

Vendor. Ubee then purchases the microchips through Microchip Vendor’s authorized dealer based

upon the price negotiated between Charter and Microchip Vendor.

                                   The Microchip Vendor Surcharge

        10.     Beginning in March 2021, Microchip Vendor began to experience COVID-related

supply-chain issues. Due to these supply constraints, Microchip Vendor informed Ubee and Charter

that it would be applying a temporary surcharge to orders to ensure timely delivery of products. Ubee

is informed and believes that Microchip Vendor and Charter negotiated the terms of this temporary

surcharge, and reached an agreement that the microchips would be subject to a per unit surcharge at

an agreed amount (the “Microchip Vendor Surcharge”). On information and belief, Ubee alleges that

the term of the Microchip Vendor-Charter agreement regarding the Microchip Vendor Surcharge

does not expire until the end of 2024.




1
  The identity of Microchip Vendor and its per-unit prices for the overages addressed in these
counterclaims constitute confidential and proprietary business information. Accordingly, this information
is not identified in these counterclaims. Counterclaim Plaintiff intends to provide such information in
discovery if requested.


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       11.     Like the cost of the Microchip Vendor microchips, the Microchip Vendor Surcharge

was to be paid directly by Ubee to Microchip Vendor. Charter agreed to reimburse Ubee for the

Microchip Vendor Surcharge. Under its PO system, Charter is unable to make any adjustments to

product prices except to reflect a permanent price change. As a result, Charter could not adjust the

modem price to include the Microchip Vendor Surcharge. Instead, Ubee and Charter agreed that the

Microchip Vendor Surcharge would be processed and paid for under separate POs and invoices (i.e.,

not together with the purchase of the modems).

       12.     This arrangement was memorialized in a Letter of Understanding dated February 7,

2022 between Charter and Ubee (the “Microchip Vendor LOU”). In the Microchip Vendor LOU,

Charter and Ubee agreed that Ubee would continue to purchase the Microchip Vendor microchips

and that Charter would reimburse Ubee for the Microchip Vendor Surcharge for products shipped

during the period between March 1 and December 31, 2022. The Microchip Vendor LOU provides

that Ubee would separately invoice the Microchip Vendor Surcharges to Charter for payment.

       13.     In accordance with the parties’ understanding set forth in the Microchip Vendor

LOU, Ubee issued seven (7) invoices to Charter for the Microchip Vendor Surcharges paid by Ubee

for cable modems it shipped to Charter during the applicable time period (viz., 3/1/2022-

12/31/2022), and Charter remitted payments to Ubee for same.

                                The Microchip Vendor Price Increase

       14.     Although the Microchip Vendor LOU did not expressly reference cable modems that

Ubee shipped to Charter after December 31, 2022, for the modems that Ubee shipped to Charter

starting in 2023, Microchip Vendor continued to assess the Microchip Vendor Surcharge on

microchips purchased by Ubee. In addition, Microchip Vendor informed Ubee that it would also be




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implementing a per unit price increase (on top of the Microchip Vendor Surcharge) for all

microchips it sold to Ubee, starting in 2023 (the “Microchip Vendor Price Increase”).

       15.     As a result, in early 2023, Ubee contacted Charter to enter into an extension and

amendment of the Microchip Vendor LOU to address both the continued reimbursement of the

Microchip Vendor Surcharge, plus the new Microchip Vendor Price Increase for the Microchip

Vendor microchips, for cable modems Ubee shipped to Charter starting in 2023. However, Charter

claimed that it was not yet ready to execute such an extension and amendment of the Microchip

Vendor LOU, because Charter was purportedly still negotiating with Microchip Vendor over the

specific amount of the Microchip Vendor Price Increase, so the parties (i.e., Charter and Microchip

Vendor) supposedly had yet to agree upon a firm, new price for the Microchip Vendor microchips.

       16.     Because Charter claimed it had not reached an agreement with Microchip Vendor as

to the final cost of the Microchip Vendor Price Increase, Ubee was not able to obtain an extension

and amendment of the Microchip Vendor LOU.

       17.     In order to timely fulfill Charter’s ongoing POs for cable modems, for 2023, Ubee

paid all of the Microchip Vendor Surcharges (for the first half of 2023) and Microchip Vendor Price

Increases in advance, on the understanding that they would later be reimbursed by Charter. Notably,

Charter accepted delivery of all the cable modems Ubee shipped starting in 2023, and, on

information and belief, deployed said Ubee cable modems to Charter’s customers.

       18.     Charter was aware that, starting in 2023, Ubee had begun paying in advance the

additional Microchip Vendor Price Increase, and that Ubee was continuing to pay the Microchip

Vendor Surcharge. Moreover, Charter knew that Microchip Vendor required Ubee to make full

payment (inclusive of the Microchip Vendor Price Increase and, for the first half of 2023, the

Microchip Vendor Surcharge) before Microchip Vendor would authorize delivery of microchips to




                                                 45
Ubee for the manufacture of the Charter modems. Charter continued to issue Ubee POs for cable

modems throughout 2023 that required the Microchip Vendor microchips, with the expectation that

these modems be timely delivered, and well knowing that this would require Ubee to front the cost of

the Microchip Vendor Surcharge (in the first half of 2023) and Microchip Vendor Price Increase.

       19.     Charter and Ubee both understood that Charter was obligated to reimburse Ubee for

all the Microchip Vendor Surcharges and Microchip Vendor Price Increases that Ubee had paid in

order to continue to manufacture and deliver modems to Charter in 2023.

       20.     Near the end of 2023, Charter claimed that it still had not reached an agreement with

Microchip Vendor regarding the final cost of the Microchip Vendor Price Increase. Ubee proceeded

to issue five (5) invoices to Charter reflecting all Microchip Vendor Surcharges and Microchip

Vendor Price Increases paid in advance by Ubee for all cable modems it shipped to Charter in 2023.

These invoices together amounted to $11,055,061.54—comprised of $2,359,624.96 for the

Microchip Vendor Price Increase, and $8,695,436.58 for the Microchip Vendor Surcharge. To date,

Charter has failed and refused to make any payment towards this outstanding amount. Charter has

never disputed any of these invoices.

                                Other Vendors’ Components Costs

       21.     In addition to the Microchip Vendor microchips, COVID-related supply issues also

impacted other vendors’ components that Ubee needed to build cable modems for Charter. Examples

of these components include: DDR3 memory, flash memory, freight, packing materials, printed

circuit boards, circuit board housing, soldering paste, power supply units, and additional microchips.

       22.     Like the Microchip Vendor, certain vendors of these other components began to

apply surcharges to ensure the timely delivery of products amid supply constraints. And as with the

Microchip Vendor Surcharge, Charter and Ubee entered into Letters of Understanding to address




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these other surcharges—Ubee would pay the surcharges directly to the vendors, and later invoice and

be reimbursed by Charter. Such other vendors—separate and apart from the Microchip Vendor—

with respect to whom Charter and Ubee entered into Letters of Understanding pertaining to their

surcharges, shall be referred to herein as “Other Vendors”.

        23.     On August 31, 2023, Ubee and CCO executed a Letter of Understanding (“Other

Vendors LOU”) setting forth the terms by which CCO would reimburse Ubee for surcharges on

Other Vendors’ components for cable modems that Ubee shipped to Charter during the period

between January 1 and December 31, 2023 (the “Other Vendors Surcharge”).

        24.     Between October 19 and December 21, 2023, Ubee issued five (5) invoices for Other

Vendors Surcharges pursuant to Charter-issued POs and under the Other Vendors LOU. Charter paid

each of these five invoices in full.

        25.     In January 2024, Ubee sent a sixth invoice to Charter under the Other Vendors LOU

for Other Vendors Surcharges in the amount of $328,641.60, which pertained to cable modems that

Ubee shipped to Charter during the period beginning July 1, 2023 and ending December 31, 2023.

To date, Charter has failed and refused to pay any portion of this amount owed for the Other Vendors

Surcharges.

                  COUNT I – BREACH OF IMPLIED-IN-FACT CONTRACT

(MICROCHIP VENDOR SURCHARGE AND MICROCHIP VENDOR PRICE INCREASE)

        26.     Ubee incorporates by reference the allegations in Paragraphs 1–25.

        27.     With Charter’s knowledge and at Charter’s request, Ubee paid, in advance,

Microchip Vendor Surcharges and Microchip Vendor Price Increases for cable modems

manufactured for Charter and shipped in 2023, with the expectation, which was fully and clearly

understood by Charter, that Ubee would be reimbursed by Charter for these payments.




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       28.     By engaging in the course of conduct described above, Ubee and Charter intended to

enter into, and did enter into, a valid and enforceable implied-in-fact contract whereby Charter would

reimburse Ubee for the Microchip Vendor Surcharges and Microchip Vendor Price Increases

advanced by Ubee for cable modems Ubee shipped to Charter during 2023, upon receipt of Ubee’s

invoices for these amounts (the “Implied Agreement”).

       29.     Pursuant to the terms of the Implied Agreement, Ubee was permitted to invoice

Charter for Microchip Vendor Surcharges and Microchip Vendor Price Increases that Ubee paid in

advance to Microchip Vendor for cable modems that Ubee shipped to Charter in 2023, and Charter

was obligated to pay all such invoices.

       30.     Charter failed to meet its obligations under the terms of the Implied Agreement by

refusing to pay invoices issued by Ubee for Microchip Vendor Surcharges and Microchip Vendor

Price Increases that Ubee paid in advance for cable modems that it shipped to Charter, and which

Charter received and accepted, during 2023. The total amount that Charter has refused to pay is

$11,055,061.54.

       31.     Based on the foregoing conduct and omissions, Charter has materially breached the

terms of the Implied Agreement. Charter’s breaches were knowing and willful.

       32.     Ubee fully performed its contractual obligations under the Implied Agreement,

except insofar as these obligations have been waived by Charter or excused by Charter’s failure to

perform under the Implied Agreement.

       33.     As a direct, proximate, and foreseeable result of the conduct and omissions alleged

above, Ubee has suffered damages in an amount to be determined at trial, including, at a minimum,

approximately $11,055,061.54 in amounts that Charter owes to Ubee as a result of Charter’s failure

to make payments in breach of the terms of the Implied Agreement.




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                      COUNT II – BREACH OF EXPRESS CONTRACT

                              (OTHER VENDORS SURCHARGE)

       34.     Ubee incorporates by reference the allegations in Paragraphs 1–33.

       35.     Ubee entered into a valid and binding written agreement with Charter—namely, the

Other Vendors LOU—pursuant to which Charter was to reimburse Ubee for Other Vendors

Surcharges that Ubee paid in advance to manufacture cable modems for Charter, and which were

shipped to Charter in 2023.

       36.     Pursuant to the terms of the Other Vendors LOU, Ubee was permitted to invoice

Charter for Other Vendors Surcharges, and Charter would pay such invoices within 60 days of

receipt.

       37.     Charter failed to meet its obligations under the terms of the Other Vendors LOU by

refusing to pay an invoice issued by Ubee for Other Vendors Surcharges pertaining to cable modems

that Ubee shipped to Charter during the period beginning July 1, 2023 and ending December 31,

2023. The total amount that Charter has refused to pay is $328,641.60.

       38.     Based on the foregoing conduct and omissions, Charter has materially breached the

terms of the Other Vendors LOU. Charter’s breaches were knowing and willful.

       39.     Ubee fully performed its contractual obligations under the Other Vendors LOU,

except insofar as these obligations have been waived by Charter or excused by Charter’s failure to

perform under the Other Vendors LOU.

       40.     As a direct, proximate, and foreseeable result of the conduct and omissions alleged

above, Ubee has suffered damages in an amount to be determined at trial, including, at a minimum,

approximately $328,641.60 in amounts that Charter owes to Ubee as a result of Charter’s failure to

make payments in breach of the terms of the Other Vendors LOU.




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                              COUNT III – UNJUST ENRICHMENT

(MICROCHIP VENDOR SURCHARGE AND MICROCHIP VENDOR PRICE INCREASE)

        41.     Ubee incorporates by reference the allegations in Paragraphs 1–40.

        42.     Ubee paid $11,055,061.54 in Microchip Vendor Surcharges and Microchip Vendor

Price Increases for Microchip Vendor microchips used in Ubee’s production of cable modems for

Charter, and which cable modems were shipped to, and accepted by, Charter for the first half of

2023.

        43.     By making these payments and shipments, Ubee conferred substantial benefits on

Charter.

        44.     Charter never reimbursed Ubee for the $11,055,061.54 in Microchip Vendor

Surcharges and Microchip Vendor Price Increases.

        45.     Charter has been unjustly enriched by Ubee’s payment of these Microchip Vendor

Surcharges and Microchip Vendor Price Increases.

        46.     Charter’s unjust enrichment came at the expense of Ubee.

        47.     It would be unjust if Ubee were not reimbursed by Charter for the payments that

Ubee made for Microchip Vendor Surcharges and Microchip Vendor Price Increases.

        48.     Charter’s misconduct directly and proximately caused Ubee to suffer damages.

        49.     Ubee pleads Unjust Enrichment in the alternative to Count I (Breach of Implied-in-

Fact Contract) in the event that the trier of fact does not find an enforceable contract with respect to

the subject matter alleged in Count I.

                              COUNT IV – UNJUST ENRICHMENT

                               (OTHER VENDORS SURCHARGE)

        50.     Ubee incorporates by reference the allegations in Paragraphs 1–49.




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        51.     Ubee paid $328,641.60 in Other Vendors Surcharges for Other Vendors’ components

used in Ubee’s production of cable modems for Charter, which cable modems were delivered to, and

accepted by, Charter in 2023.

        52.     By making these payments and shipments, Ubee conferred substantial benefits on

Charter.

        53.     Charter never reimbursed Ubee for the $328,641.60 in Other Vendors Surcharges.

        54.     Charter has been unjustly enriched by Ubee’s payment of these Other Vendors

Surcharges.

        55.     Charter’s unjust enrichment came at the expense of Ubee.

        56.     It would be unjust if Ubee were not reimbursed by Charter for the payments that

Ubee made to Other Vendors for Other Vendors Surcharges.

        57.     Charter’s misconduct directly and proximately caused Ubee to suffer damages.

        58.     Ubee pleads Unjust Enrichment in the alternative to Count II (Breach of Express

Contract) in the event that the trier of fact does not find an enforceable contract with respect to the

subject matter alleged in Count II.

                                       PRAYER FOR RELIEF

        59.     WHEREFORE, Ubee prays for judgment on its Counterclaims and:

                a.      The award of money damages, including compensatory, consequential, and

                        incidental damages;

                b.      All costs of this action, including reasonable attorneys’ fees; and

                c.      All further and additional relief that the Court deems just and appropriate.

                                           JURY DEMAND

        Ubee demands a jury trial on all issues so triable.




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Dated: May 16, 2024   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and accurate copy of the foregoing was
electronically served upon all counsel of record through the Court’s e-filing system this 16th day
of May, 2024.


                                             /s/ Kyle P. Seelbach




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